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AO 93 (Rev. 11/13) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the

District of Massachusetts

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

CaseNo. MJ. No. (4-M J—-I2{S{-MeRA

information about the location of the T-Mobile phone
assigned 978-902-7484

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the District of New Jersey
(identify the person or describe the property to be searched and give its location):

See Attachment A-1.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

See Attachment B-1.

YOU ARE COMMANDED to execute this warrant on or before August 30, 2019 (not to exceed 14 days)
1] in the daytime 6:00 a.m. to 10:00 p.m. @ at any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory

as required by law and promptly return this warrant and inventory to Hon. Marianne B. Bowler
: (United States Magistrate Judge)

M Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to aay aotice tothe person who, or whose
property, will be searched or seized (check the appropriate box) °

M for 30 days (not to exceed 30) ©) until, the facts justifying, the later spec

     

 

Lf

Date and time issued: Quiounst 1612019
C 10:40 AY

City and state: Boston, Massachusetts

 

 
 

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Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
M.J. No.

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date:

 

Executing officer’s signature

 

Printed name and title

 

 

 
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ATTACHMENT A-1

Records and information associated with the 978-902-7484 phone number (“the
Account”), and information about the location of the mobile phone assigned 978-902-
7484 (“the Target Telephone”), whose service provider is T-Mobile, a company that
accepts process at 4 Sylvan Way, Parsippany, New Jersey 07054, and stored at
premises controlled by T-Mobile US, Inc. (“T-Mobile”) or (‘the Provider”),

headquartered at 4 Sylvan Way, Parsippany, Nd 07054.

 
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ATTACHMENT B-1

U. Prospective information about the location of the Target Telephone described
in Attachment A-1 for a period of 30 days, during all times of day and night,

including:
a. E-911 Phase II data;

b.

GPS data;

latitude-longitude data;

other precise location information; and

pen register / trap and trace device with prospective cell site information
and all related data about which “cell towers” (i.e., antenna towers covering
specific geographic areas) and “sectors” (.e., faces of the towers) received a
radio signal from the Target Telephone during any voice, SMS, and/or data

transmission.

IT. Historical records related to the Target Telephone described in Attachment
A-1

The Provider is also required to disclose to the government the following

documents/information pertaining to the Account associated with the Target

Telephone listed in Attachment A-1 for the period of July 23, 2019 to August 20, 2019:

a. The following information about the subscribers of the Account:

1.

i.

iv.

Names (including subscriber names, user names, and screen names);

Addresses (including mailing addresses, residential addresses,
business addresses, and e-mail addresses);

Local and long distance telephone connection records;

Records of session times and durations, and the temporarily assigned
network addresses (such as Internet Protocol (“IP”) addresses)

associated with those sessions;

Length of service (including start date) and types of service utilized;

 
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vi.

Vil.

Vill.

Telephone or instrument numbers (including MAC addresses,
Electronic Serial Numbers (“ESN”), Mobile Electronic Identity
Numbers (“MEIN”), Mobile Equipment Identifier (MEID”); Mobile
Identification Number (“MIN”), Subscriber Identity Modules
(“SIM”), Mobile Subscriber Integrated Services Digital Network
Number (“MSISDN”); International Mobile Subscriber Identity
Identifiers (“IMSI”), or International Mobile Equipment Identities

CTME?’);

Other subscriber numbers or identities (including the registration
Internet Protocol (“IP”) address); and

Means and source of payment for such service (including any credit
card or bank account number) and billing records.

b. All records and -other information (not including the contents of

communications) relating to wire and electronic communications sent or

received by the Account, including:

iil.

iv.

Records of user activity for each connection made to or from the
Accounts, including log files; messaging logs; the date, time, length,
and method of connections; data transfer volume; user names; and
source and destination Internet Protocol addresses; °

Information about each communication sent or received by the
Accounts, including the date and time of the communication, the
method of communication, and the source and destination of the
communication (such as source and destination email addresses, IP
addresses, and telephone numbers);

All data about which “cell towers” (i.e., antenna towers covering
specific geographic areas) and “sectors” (i.e., faces of the towers)
received a radio signal from each cellular telephone or device
assigned to the Accounts, to include all voice, SMS, MMS, and data

activity; and.

All records containing round-trip-distance measurements for each
connection made to or from the Accounts, to include NELOS, RTT,
True Call Measurement Data, PCMD records, and all other records
containing timing advance measurements and distance-to-tower

 
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measurements for all technologies (CDMA, GSM, UMTS, LTE, etc.)
- and Reveal Reports.

V. Internet activity reports, records of Internet Protocol (IP) usage, etc.

This warrant does not authorize the collection of any content of any
communications.

T-Mobile must furnish the government all information, facilities, and technical
assistance necessary to accomplish the collection of the Information about the
location of the Target Telephone unobtrusively and with a minimum of interference
_ with T-Mobile’s services, including by initiating a signal to determine the location of
the Target Telephone on T-Mobile’s network, and at such intervals and times directed
by the government. The government shall compensate T-Mobile for reasonable
expenses incurred in furnishing such assistance.

T-Mobile shall not disclose the existence of the search warrant to the listed -
subscriber or to any other person for a period of one year from the date of this Order,
or upon notice by the government within 30 days of the conclusion of its investigation, ©
whichever is earlier, unless the Court extends such period under 18 U.S.C. § 2705(b).
See 18 U.S.C. § 2705(b). T-Mobile may disclose this Order to an attorney for T-Mobile
for the purpose of receiving legal advice.

_ Information to be Seized by the Government

All information that constitutes evidence, fruits, contraband, and

instrumentalities of violations of 21 U.S.C. §841 (distribution/possession with intent

to distribute controlled substances) and §846) (conspiracy to commit the same).

 
